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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America


     v.                                Criminal No. 07-cr-189-3-GZS

Cirino Gonzalez



                               O R D E R


     Defendant Gonzalez filed a preliminary witness list

identifying thirty-one potential witnesses.         (Document no. 180).

Defendant now moves for additional subpoenas beyond the five

permitted by L. Cr. R. 17.1(G), presumably for the list of 31,

and for an authorization of travel expenses.         (Document no. 187).

     Fed. R. Crim. P. 17(G), however, requires defendant, in an

ex parte application, to show “the necessity of the witness’s

presence for an adequate defense...”1       Defendant has not complied

with the rule.    The motion (Document no. 187) is denied without

prejudice to re-file an ex parte motion or motions articulating

specific facts that show the relevancy and necessity of the named

witnesses testimony.2


     1
         Defendant has already demonstrated his indigent status.
     2
         28 U.S.C. §1821 provides for payment of costs of travel.
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      SO ORDERED.

                               ____________________________________
                               James R. Muirhead
                               United States Magistrate Judge

Date: February 1, 2008

cc:   David H. Bownes, Esq.
      Arnold H. Huftalen, Esq.
      Robert M. Kinsella, Esq.




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